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 3                                                       CENTRAL DISTRICT OF CALIFORNIA
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                 IN THE UNITED STATES DISTRICT COURT
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             FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                            Case No.2:o~ ~R o~lgt-Gw~ i2
      UNITED STATES OF AMERICA,
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                       Plaintiff,
14                                            ORDER OF DETENTION AFTER
                  v.                          HEARING (Fed:R.Crim.P. 32.1(a)(6)
15                                            Allegations of Violations of
     s~stt~~ ~~cA             ~'DPI U~ez~
                          e endant.           Probation/Supervised Release
16                                            Conditions)
17
18         On arrest warrant issued by a United States District Court involving alleged
19   violations of conditions of probation or Supervised Release,
20         The Court finds no condition or combination of conditions that will
21   reasonably assure:
22         ~     the appearance of defendant as required; and/or
23         ~     the safety of any person or the community.
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          Case 2:08-cr-01191-GW Document 1260 Filed 06/10/22 Page 2 of 2 Page ID #:6219



  1             The Court concludes:
 2              I~] Defendant poses a risk of nonappearance, and the Court finds that
 3              defendant has not demonstrated by clear and convincing evidence that
 4              he/she does not pose such a risk. The risk of nonappearance is based on:
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 9              ~ Defendant poses a danger to the community, and the Court finds that

10              defendant has not demonstrated by clear and convincing evidence that he
1 1 ~'I         does not pose such a risk. The risk of danger is based on:
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16             IT IS THEREFORE ORDERED that the defendant be detained.
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          Dated: ~ I ~ ° ~ X022                              ~.
19
                                                   HO . ROZELLA A. OLIVER
20                                                 UNITED STATES MAGISTRATE JUDGE
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